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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     *
                                              *
        v.                                    *     CRIMINAL NO. 23-cr-257 (TSC)
                                              *
 DONALD J. TRUMP,                             *
                                              *
               Defendant.                     *
                                              *

                         GOVERNMENT’S NOTICE OF FILING

       The Government hereby gives notice that on December 4, 2023, it filed with the Court,

through the Classified Information Security Officer, a pleading entitled “Government’s Reply in

Support of Motion to Strike Defendant’s CIPA Section 5 Notice.”

                                                   Respectfully submitted,

                                                   JACK SMITH
                                                   Special Counsel

                                           By:     /s/Thomas P. Windom
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